       Case 4:20-cv-01955 Document 36 Filed on 03/11/21 in TXSD Page 1 of 2




                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS

                                      CASE NO.: 4:20-cv-01955

 TASHA JACKSON, individually and on behalf of all                        CLASS ACTION
 others similarly situated,
                                                                   JURY TRIAL DEMANDED
 Plaintiff,

 vs.

 SOUTH HOUSTON MOTORCARS, LLC d/b/a
 SOUTH HOUSTON NISSAN, a Texas limited
 liability company,

 Defendant.
 ___________________________________________/

                          NOTICE OF CLASS ACTION SETTLEMENT

        Plaintiff Tasha Jackson hereby notifies the Court that the parties have reached an agreement in

principle to settle the litigated claims in this case on a class-wide basis, subject to Court approval. The

parties are presently drafting a written Settlement Agreement and related documents, which the parties

will endeavor to file with the Court as part of a Motion for Preliminary Approval by March 26, 2021.




                                                    1
     Case 4:20-cv-01955 Document 36 Filed on 03/11/21 in TXSD Page 2 of 2




Date: March 11, 2021



                              EISENBAND LAW, P.A.
                              515 E. Las Olas Boulevard, Suite 120
                              Ft. Lauderdale, Florida 33301
                              /s/ Michael Eisenband
                              Michael Eisenband
                              Florida Bar No. 94235
                              Pro Hac Vice
                              Email: MEisenband@Eisenbandlaw.com
                              Telephone: 954.533.4092
                              Admitted pro hac vice
                              Counsel for Plaintiff and the Class




                                       2
